Case 2:17-cv-00661-JRG-RSP Document 75 Filed 05/08/19 Page 1 of 2 PageID #: 1918



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  INTELLECTUAL VENTURES II LLC,                    §
                                                   §
                  Plaintiff,                       §
                                                   §
  v.                                               §
                                                   §
  SPRINT SPECTRUM, L.P., NEXTEL                    §   CIVIL ACTION NO. 2:17-CV-00662-JRG-
  OPERATIONS, INC., ERICSSON INC.,                 §   RSP
  TELEFONAKTIEBOLAGET LM                           §   (Lead Case)
  ERICSSON,                                        §
                                                   §
  T-MOBILE USA, INC., T-MOBILE US,                 §   CIVIL ACTION NO. 2:17-CV-00661-JRG-
  INC., ERICSSON INC.,                             §   RSP
  TELEFONAKTIEBOLAGET LM                           §   (Member Case)
  ERICSSON,                                        §
                                                   §
                  Defendants.                      §

                                              ORDER

         Before the Court is Plaintiff Intellectual Ventures II LLC’s (“Plaintiff”) and Defendants

  Sprint Spectrum, L.P.; Nextel Operations, Inc.; T-Mobile USA, Inc.; T-Mobile US, Inc.; Ericsson

  Inc., and Telefonaktiebolaget LM Ericsson’s (collectively, “Defendants”) (together, “Parties”)

  Joint Motion to Stay All Deadlines and Notice of Settlement (the “Motion”). (Dkt. No. 74).

  Having considered the same, the Court finds that the Motion should be and hereby is GRANTED.

         It is therefore ORDERED that all deadlines in the above-styled cases are hereby STAYED

  for thirty (30) days from the issuance of this Order, during which time dismissal papers shall be

  tendered to the Court.
Case 2:17-cv-00661-JRG-RSP Document 75 Filed 05/08/19 Page 2 of 2 PageID #: 1919




        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 8th day of May, 2019.




                                               ____________________________________
                                               RODNEY GILSTRAP
                                               UNITED STATES DISTRICT JUDGE




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